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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CHROMADEX, INC. and
TRUSTEES OF DARTMOUTH
COLLEGE

Plaintiff,

Civil Action No. 18-1434-CFC-JLH
Vv.

ELYSIUM HEALTH, INC.

Defendant.

ORDER

At Wilmington this Fifteenth day of December in 2020:

For the reasons set forth in the Memorandum Opinion issued this day, IT IS
HEREBY ORDERED that Defendant’s Rule 12(b)(1) Motion to Dismiss
ChormaDex, Inc.’s Claims (D.I. 58) is GRANTED IN PART AND DENIED IN
PART:

1. The motion is GRANTED insofar as it seeks dismissal of claims of

infringement brought by ChromaDex Inc. for activities alleged to have

occurred on or after May 13, 2017; and
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2. The motion is DENIED is insofar as it seeks dismissal of claims of
infringement brought by ChromaDex for activities alleged to have

occurred before May 13, 2017.

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UNITED STATES DISTRIQV JUDGE

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